                                                                                Case 4:13-md-02420-YGR Document 638 Filed 01/20/15 Page 1 of 1



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                                                                         8                                    UNITED STATES DISTRICT COURT
                                                                         9                                 NORTHERN DISTRICT OF CALIFORNIA
                                                                         10
United States District Court




                                                                         11   IN RE:                                                  No. 13-MD-02420 YGR (DMR)
                               For the Northern District of California




                                                                         12                                                           ORDER ON JOINT STATUS REPORT
                                                                                       LITHIUM ION BATTERIES                          BY PLAINTIFFS AND DEFENDANT GS
                                                                         13            ANTITRUST LITIGATION                           YUASA CORP. [DOCKET NO. 631]
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                                                                         15   ___________________________________/
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                                                                         17            The court has received the January 15, 2015 Joint Status Report regarding Plaintiffs’
                                                                         18   discussions with Defendant GS Yuasa Corporation. [Docket No. 631.] The parties shall jointly
                                                                         19   report to the court by February 3, 2015 regarding the status of their discussions.
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                                                                                                                                    DONNA M. RYU
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                                                                                                                                    United States Magistrate Judge
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